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                      UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re                                                   :      Chapter 13

SHAWN C. McGUIRE                                        :

                Debtor             :                           Bankruptcy No. 13-16141
____________________________________

SHAWN C. McGUIRE                                        :

                                                        :
                     Plaintiff
             v.                                         :

HSBC BANK USA, N.A.                                     :
                                                               Adversary No. 14-0068
                     Defendant                          :

                                 .................................................

                                                  ORDER

                                 .................................................

             AND NOW, this 17th day of April 2014, upon motion of the plaintiff for

default judgment against defendant HSBC Bank USA, National Association, As Trustee

for the Holders of the Ace Securities Corp. Home Equity Loan Trust Asset Backed

Pass-Through Certificate Series 2006-CW 1

             And no response to the complaint having been filed,

             And the plaintiff having certified that proper service was made upon this

defendant and there being no answer in opposition to his motion for default judgment,

             And the defendant filed a proof of claim, docketed as claim #8, asserting a

second mortgage lien on the debtor’s real property,

             And the plaintiff averring that the defendant, although holding a second

mortgage on the plaintiffs’ realty located at 26 West Roland Road, Brookhaven,
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Pennsylvania, holds a wholly unsecured claim pursuant to 11 U.S.C. § 506 and In re

McDonald, 205 F.3d 606 (3d Cir. 2000),

              And the defendant not having responded or contested this averment,

              Accordingly, it is hereby ordered that judgment be entered by default in

favor of the plaintiff and against the defendant. Defendant’s second mortgage security

interest in the real property located at 26 West Roland Road, Brookhaven, Pennsylvania,

based upon a note dated March 15, 2006 in the amount of $31,980.00, is avoided pursuant

to 11 U.S.C. § 506(a), (d).




                                   ____________________________________
                                               BRUCE FOX
                                       United States Bankruptcy Judge

copies to:

Brad J. Sadek, Esq.
Sadek and Cooper
1315 Walnut Street, Suite 302
Philadelphia, PA 19107

Larry E. Johnson
Nationstar Mortgage, LLC
PO Box 630267
Irving, Texas 75063

Daniel Sullivan, Esq.
Weinstein, Pinson and Riler
14 Penn Plaza
Suite 1407
New York, NY 10122

Irene M. Domer, President
HSBC Bank USA
452 5th A venue
New York, NY 10018


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